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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 CHARLES H., et al.,

                     Plaintiffs,

 v.                                                    Civil Action No. 21-997 (CJN)

 DISTRICT OF COLUMBIA, et al.,

                     Defendants.



                    DEFENDANTS’ RESPONSE TO PLAINTIFFS’
                   MOTION FOR LEAVE TO FILE AN AMENDED
               COMPLAINT AND MOTION TO SET BRIEFING SCHEDULE

       Defendants the District of Columbia, District of Columbia Public Schools (DCPS), and the

Office of the State Superintendent of Education (OSSE) (collectively, the District) respond to

plaintiffs’ motion for leave to file an amended complaint (motion for leave) [31], and separately

request that the Court set a briefing schedule for the District’s response to plaintiffs’ proposed

amended complaint and plaintiffs’ motion for class certification.

       The District does not oppose plaintiffs’ motion for leave. However, the District requests

that if the Court grants plaintiffs’ motion, the Court also set the District’s deadline to respond to

the Amended Complaint for 21 days after the Court issues a decision on plaintiffs’ pending motion

for a preliminary injunction (PI) [12]. Currently, the District’s deadline to respond to the original

Complaint is 14 days after the Court rules on plaintiffs’ motion for a PI. See Minute Order of April

16, 2021.

       The District further requests that the Court stay briefing on class certification until 30 days

after a decision on any motion to dismiss the District may file, or 30 days after an Answer is filed
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if the District does not file a motion to dismiss.1 Pursuant to Local Civil Rule 7(m), the Parties

conferred on this motion. Plaintiffs consent to setting the District’s deadline to respond to the

Amended Complaint for 21 days after a decision on plaintiffs’ motion for a PI but oppose the

District’s requested relief as to class certification briefing. A memorandum of points and

authorities and a proposed order are attached.

Dated: June 15, 2021.                  Respectfully submitted,

                                       KARL A. RACINE
                                       Attorney General for the District of Columbia

                                       /s/ Fernando Amarillas
                                       FERNANDO AMARILLAS [974858]
                                       Acting Deputy Attorney General
                                       Public Interest Division

                                       /s/ Micah Bluming
                                       MICAH BLUMING [1618961]
                                       RICHARD P. SOBIECKI [500163]
                                       HONEY MORTON [1019878]
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                                       Counsel for Defendants




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       In the Parties’ joint status report filed on April 15, 2021 [15], the District requested that the
Court stay briefing on class certification. At a status conference held on April 21, 2021, the Court
took the District’s request under advisement pending further briefing on plaintiffs’ motion for a
PI.

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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 CHARLES H., et al.,

                      Plaintiffs,

 v.                                                     Civil Action No. 21-997 (CJN)

 DISTRICT OF COLUMBIA, et al.,

                      Defendants.



                  MEMORANDUM OF POINTS AND AUTHORITIES
                   IN SUPPORT OF DEFENDANTS’ RESPONSE TO
              PLAINTIFFS’ MOTION FOR LEAVE TO FILE AN AMENDED
              COMPLAINT AND MOTION TO SET BRIEFING SCHEDULE

       In support of their response to plaintiffs’ motion for leave to file an amended complaint

and their motion to set a briefing schedule, defendants the District of Columbia, District of

Columbia Public Schools (DCPS), and the Office of the State Superintendent of Education (OSSE)

(collectively, the District) submit the following:

       1. Fed. R. Civ. P. 6(a), 23(c);

       2. Defendants’ showing of good cause in support of the motion;

       3. Plaintiffs’ partial consent; and

       4. The inherent power of the Court.

       If the Court grants plaintiffs’ motion for leave to file an amended complaint, the District

requests that the Court set the District’s deadline to respond to the Amended Complaint for 21

days after the Court issues a decision on plaintiffs’ pending motion for a preliminary injunction

(PI). Plaintiffs consent to this request. Currently, the District’s deadline to respond to the original

Complaint is 14 days after the Court rules on plaintiffs’ motion for a PI. See Minute Order of April
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16, 2021.

       The District further requests that the Court stay briefing on class certification until 30 days

after a decision on any motion to dismiss the District may file, or 30 days after an Answer is filed

if the District does not file a motion to dismiss. It is within the Court’s inherent power to stay

briefing on class certification, especially when doing so will promote the interests of judicial

economy and will not prejudice the plaintiffs. See, e.g., Taylor v. Fed. Aviation Admin., Civil

Action No. 18-0035, 2018 WL 1967127, at *1 (D.D.C. Feb. 8, 2018). That is the case here, as the

requested stay of class certification briefing would allow the Court to rule on any motion to dismiss

the District may file before considering class certification, which may be rendered moot.

Dated: June 15, 2021.                 Respectfully submitted,

                                      KARL A. RACINE
                                      Attorney General for the District of Columbia

                                      /s/ Fernando Amarillas
                                      FERNANDO AMARILLAS [974858]
                                      Acting Deputy Attorney General
                                      Public Interest Division

                                      /s/ Micah Bluming
                                      MICAH BLUMING [1618961]
                                      RICHARD P. SOBIECKI [500163]
                                      HONEY MORTON [1019878]
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                                      Counsel for Defendants




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 CHARLES H., et al.,

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 v.                                                    Civil Action No. 21-997 (CJN)

 DISTRICT OF COLUMBIA, et al.,

                      Defendants.



                                              ORDER

       Upon consideration of defendants’ response to plaintiffs’ motion for leave to file an

amended complaint and motion to set briefing schedule (Defendants’ Motion), plaintiffs’ partial

consent, and the entire record, it is this ______ day of June 2021, ORDERED that:

       1)       Defendants’ Motion is GRANTED;

       2)       Defendants shall respond to plaintiffs’ Amended Complaint no later than 21 days

after a decision on plaintiffs’ Motion for a Preliminary Injunction; and

       3)       Defendants shall respond to plaintiffs’ Motion for Class Certification no later than

30 days after a ruling on Defendants’ Motion to Dismiss, or, if Defendants do not file a motion to

dismiss, 30 days after filing their Answer.


                                                      ___________________________________
                                                      THE HONORABLE CARL J. NICHOLS
                                                      Judge, United States District Court
                                                             for the District of Columbia
